Case 21-50466-nmc Doci1_ Entered 06/22/21 18:18:49 Page 1 of 16

Fill in this information to identify your. case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

 

Case number (if known) Chapter you are filing under:
C) Chapter 7
O Chapter 11
C1) Chapter 12

@ Chapter 13 (1 Check if this is an
amended filing

 

 

 

 

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 04/20

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The same person must be Debtor 17 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If

more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

Identify Yourself

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name

Write the name that is on JULIANA

 

 

 

 

 

 

your government-issued =" First name First name

picture identification (for

example, your driver's MAYER

license or passport). Middle name Middle name

Bring your picture LOZA

identification t

ieentification 1 your Last name and Suffix (Sr. Jr. il, IN) Last name and Suffix (Sr. Jr. il, IN)

meeting with the trustee.

 

2.  Allother names you have
used in the last 8 years

Include your married or
maiden names.

 

3. Only the last 4 digits of
your Social Security
number or federal
Individual Taxpayer
Identification number
(ITIN)

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1
Case 21-50466-nmc

Debtor 1

JULIANA MAYER LOZA

 

4. Any business names and
Employer Identification
Numbers (EIN) you have
used in the last 8 years

Include trade names and
doing business as names

About Debtor 1:

Wl | have not used any business name or EINs.

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Case number (if known)

 

About Debtor 2 (Spouse Only in a Joint Case):

C] | have not used any business name or EINs.

 

 

Business name(s)

Business name(s)

 

 

EIN

EIN

 

5. Where you live

429 PANORAMA DRIVE
Stateline, NV 89449

 

Number, Street, City, State & ZIP Code

Douglas

if Debtor 2 lives at a different address:

 

Number, Street, City, State & ZIP Code

 

 

County

If your mailing address is different from the one
above, fill it in here. Note that the court will send any
notices to you at this mailing address.

County

If Debtor 2's mailing address is different from yours, fill it
in here. Note that the court will send any notices to this
mailing address.

 

 

Number, P.O. Box, Street, City, State & ZIP Code

Number, P.O. Box, Street, City, State & ZIP Code

 

6. Why you are choosing
this district to file for
bankruptcy

Check one:

WoO ver the fast 180 days before filing this petition,
| have lived in this district longer than in any
other district.

oO | have another reason.
Explain. (See 28 U.S.C. § 1408.)

Check one:

0 _sOver the last 180 days before filing this petition, |
have lived in this district longer than in any other
district.

Cj ‘| have another reason.
Explain. (See 28 U.S.C. § 1408.)

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 2
Case 21-50466-nmc Doci1_ Entered 06/22/21 18:18:49 Page 3 of 16

Debtor1 JULIANA MAYER LOZA Case number (if known)

 

Tell the Court About Your Bankruptcy Case

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
Bankruptcy Code you are (Form 2070))}. Also, go to the top of page 1 and check the appropriate box.
choosing to file under [1 Chapter 7

[J Chapter 41
Cl Chapter 12
Chapter 13

 

8. How youwillpaythe fee | will pay the entire fee when | file my petition. Please check with the clerk's office in your local court for more details
about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
order. if your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
a pre-printed address.

| need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
The Filing Fee in installments (Official Form 103A).

[] request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

 

 

 

 

 

9. Have you filed for HE No.
bankruptcy within the
last 8 years? DF Yes.
District When Case number
District When Case number
District When Case number
10. Are any bankruptcy MNo
cases pending or being
filed byaspouse whois [1 Yes.
not filing this case with
you, or by a business
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
Debtor Relationship to you
District When Case number, if known _
11. Do you rent your BENo Go to line 72,
residence? ,
0 yYes. Has your landiord obtained an eviction judgment against you?

oO No. Go to line 72.

O Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
this bankruptcy petition.

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 3
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Debtor1 JULIANA MAYER LOZA

Case number (if known)

 

Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor

of any full- or part-time
business?

A sole proprietorship is a
business you operate as
an individual, and is not a
separate legal entity such
as a corporation,
partnership, or LLC.

If you have more than one
sole proprietorship, use a

separate sheet and attach
it to this petition.

No.

[J Yes.

Go to Part 4.

Name and location of business

 

Name of business, if any

 

Number, Street, City, State & ZIP Code

Check the appropriate box to describe your business:
Health Care Business (as defined in 11 U.S.C. § 101(27A))

Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Stockbroker (as defined in 11 U.S.C. § 101(53A))
Commodity Broker (as defined in 11 U.S.C. § 101(6))

None of the above

OHoood

 

13. Are you filing under
Chapter 11 of the
Bankruptcy Code, and
are you a small business
debtor or a debtor as
defined by 11 U.S.C. §
1182(1)?

For a definition of smal!
business debtor, see 11
U.S.C. § 101(51D).

if you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
proceed under Subchapter V so that it can set appropriate deadlines. \f you indicate that you are a small business debtor or
you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,

cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B).

No. | am not filing under Chapter 11.

C1 No. | am filing under Chapter 11, but | am NOT a small business debtor according to the definition in the Bankruptcy
Code.

O ves. ! am filing under Chapter 11, | am a small business debtor according to the definition in the Bankruptcy Code, and
| do not choose to proceed under Subchapter V of Chapter 11.

O ves. | am filing under Chapter 11, | am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and |

choose to proceed under Subchapter V of Chapter 11.

Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

14. Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?

For example, do you own
perishable goods, or
livestock that must be fed,
or a building that needs
urgent repairs?

BNo.
C Yes.

What is the hazard?

 

If immediate attention is
needed, why is it needed?

 

Where is the property?

 

Number, Street, City, State & Zip Code

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

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Debtor 1

JULIANA MAYER LOZA

Explain Your Efforts to Receive a Briefing About Credit Counseling

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Case number (if known)

 

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before
you file for bankruptcy.
You must truthfully check
one of the following
choices. if you cannot do
so, you are not eligible to
file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again.

About Debtor 1:
You must check one:

| received a briefing from an approved credit oO
counseling agency within the 180 days before |

filed this bankruptcy petition, and | received a

certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

| received a briefing from an approved credit oO
counseling agency within the 180 days before |

filed this bankruptcy petition, but | do not have

a certificate of completion.

Within 14 days after you file this bankruptcy
petition, you MUST file a copy of the certificate and
payment plan, if any.

| certify that | asked for credit counseling oO
services from an approved agency, but was

unable to obtain those services during the 7

days after | made my request, and exigent
circumstances merit a 30-day temporary waiver

of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadiine is granted

only for cause and is limited to a maximum of 15

days.

1am not required to receive a briefing about oO
credit counseling because of:

O Incapacity.
| have a mental illness or a mental deficiency
that makes me incapable of realizing or
making rational decisions about finances.

Oc Disability.
My physical disability causes me to be
unable to participate in a briefing in person,
by phone, or through the internet, even after |
reasonably tried to do so.

(]) = Active duty.
fam currently on active military duty in a
military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver credit counseling with the court.

About Debtor 2 (Spouse Only in a Joint Case):
You must check one:

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, and | received a certificate of
completion.

Attach a copy of the certificate and the payment plan, if
any, that you developed with the agency.

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, but | do not have a certificate
of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if
any.

| certify that | asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after | made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
before you filed for bankruptcy, and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
filed for bankruptcy.

If the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file. You must
file a certificate from the approved agency, along with a
copy of the payment plan you developed, if any. If you do
not do so, your case may be dismissed.

Any extension of the 30-day deadline is granted only for
cause and js limited to a maximum of 15 days.

| am not required to receive a briefing about credit
counseling because of:

{J Incapacity.
| have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances.

C] Disability.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or
through the internet, even after | reasonably tried to
do so.

Active duty.
| am currently on active military duty in a military
combat zone.

If you believe you are not required to receive a briefing
about credit counseling, you must file a motion for waiver
of credit counseling with the court.

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

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Debtor 1

JULIANA MAYER LOZA

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Case number (if known)

 

Answer These Questions for Reporting Purposes

16. What kind of debts do 16a.

Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an

 

 

 

 

you have? individual primarily for a personal, family, or household purpose.”
C1 No. Go to line 16b.
Ml Yes. Go to line 17.
16b. Are your debts primarily business debts? Business debits are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.
[J No. Go to line 16c.
Cl Yes. Go to line 17.
16c. State the type of debts you owe that are not consumer debts or business debts
17. Are you filing under BNo | am not filing under Chapter 7. Go to line 18.
Chapter 7? ,
Do you estimate that OlyYes. |! am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
after any exempt are paid that funds will be available to distribute to unsecured creditors?
property is excluded and
administrative expenses CI No
are paid that funds will
be available for CO Yes
distribution to unsecured
creditors?
18. How many Creditorsdo Mf 449 ( 1,000-5,000 C) 25,001-50,000
yo nmate thatyou — 14. 50.99 CJ 5001-10,000 C1 50,001-100,000
: 1 100-199 CO 10,001-25,000 [1 More than100,000
C1 200-999
19. How much do you C1] $0 - $50,000 Hi $1,000,001 - $10 million CI $500,000,001 - $1 billion

estimate your assets to
be worth?

(J $50,001 - $100,000
[1 $100,001 - $500,000
($500,001 - $1 million

C7 $1,000,000,001 - $10 billion
1 $10,000,000,001 - $50 billion
C] More than $50 billion

[J $10,000,001 - $50 million
CJ $50,000,001 - $100 million
[1 $100,000,001 - $500 million

 

20. How much do you
estimate your liabilities
to be?

C1 $0 - $50,000

[2 $50,001 - $100,000
[J $100,001 - $500,000
M $500,001 - $4 million

[J $500,000,001 - $1 billion

CJ $1,000,000,001 - $10 billion
[1 $10,000,000,001 - $50 billion
(J More than $50 billion

CJ $1,000,001 - $10 million
($10,000,001 - $50 million
CJ $50,000,001 - $100 million
[J $100,000,001 - $500 million

 

Sign Below

 

For you

| have examined this petition, and | declare under penalty of perjury that the information provided is true and correct.

If | have chosen to file under Chapter 7, 1 am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
United States Code. | understand the relief available under each chapter, and | choose to proceed under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out this
document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making affalse statement, concealing property, or obtaining money or property by fraud in connection with a
(aes case can res it in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
% an

S V

We

a

Executed on June 22, 2021

IANA MAYER LQZA
Sighature of Debtor 4

o.
Ny

—

Signature of Debtor 2

Executed on

 

 

MM /DD/YYYY MM/DDIYYYY

 

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Voluntary Petition for Individuals Filing for Bankruptcy page 6
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Debtor1 JULIANA MAYER LOZA Case number (if known)
For your attorney, if you are |, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility to proceed
represented by one under Chapter 7, 11, 12, or 13 of th 11, dnited Code, and have explained the relief available under each chapter

    
 

for which the person is eligible. s rtify that | have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by and, in a case in which ¢ 107 ) ts) pplies, geytify that thave no knowledge after an inquiry that the information in the
an attorney, you do not need schedules filed with the petjtion/is inc@rrect.

to file this page.

 
       

LA Date June 22, 2021

CX
Signature of Ageiiney tot Debtor 7 yf [/ MM /DD/YYYY

STEPHEN R. HARRIS

Printed name

HARRIS LAW PRACTICE LLC
Firm name

6151 LAKESIDE DRIVE
SUITE 2100

Reno, NV 89511
Number, Street, City, State & ZIP Code

 

Contact phone 775-786-7600 Email address steve@harrislawreno.com

001463 NV

Bar number & State

 

 

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Certificate Number: 0653 1-NV-CC-0352925 17

0653 1-NV-CC-035292517

CERTIFICATE OF COUNSELING

I CERTIFY that on January 22, 2021, at 8:10 o'clock AM CST, Juliana Losa
received from Allen Credit and Debt Counseling Agency, an agency approved
pursuant to 11 U.S.C. 111 to provide credit counseling in the District of Nevada,
an individual [or group] briefing that complied with the provisions of 11 U.S.C.
109(h) and 111.

A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

This counseling session was conducted by internet.

Date: January 22, 2021 By: /s/Stephanie Kjetland
Name: Stephanie Kjetland

Title: Credit Counselor

* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109¢h) and 521(b).

 

 

 

 
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)

 

 

This notice is for you if:

You are an individual filing for bankruptcy,
and

Your debts are primarily consumer debts.
Consumer debts are defined in 11 U.S.C.
§ 101(8) as “incurred by an individual
primarily for a personal, family, or
household purpose.”

 

Chapter 7: Liquidation

 

 

 

The types of bankruptcy that are available to
individuals

Individuals who meet the qualifications may file under
one of four different chapters of Bankruptcy Code:

Chapter 7 - Liquidation
Chapter 11 - Reorganization

Chapter 12 - Voluntary repayment plan
for family farmers or
fishermen

Chapter 13 - Voluntary repayment plan
for individuals with regular
income

You should have an attorney review your
decision to file for bankruptcy and the choice of
chapter.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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$245 filing fee
$78 administrative fee
+ $15 trustee surcharge

$338 total fee

Chapter 7 is for individuals who have financial
difficulty preventing them from paying their debts
and who are willing to allow their non-exempt
property to be used to pay their creditors. The
primary purpose of filing under chapter 7 is to have
your debts discharged. The bankruptcy discharge
relieves you after bankruptcy from having to pay
many of your pre-bankruptcy debts. Exceptions exist
for particular debts, and liens on property may still
be enforced after discharge. For example, a creditor
may have the right to foreclose a home mortgage or
repossess an automobile.

However, if the court finds that you have committed
certain kinds of improper conduct described in the
Bankruptcy Code, the court may deny your
discharge.

You should know that even if you file chapter 7 and
you receive a discharge, some debts are not
discharged under the law. Therefore, you may still
be responsible to pay:

most taxes;

most student loans;

domestic support and property settlement
obligations;

page 1

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most fines, penalties, forfeitures, and criminal
restitution obligations; and

certain debts that are not listed in your bankruptcy
papers.

You may also be required to pay debts arising from:
fraud or theft;

fraud or defalcation while acting in breach of
fiduciary capacity;

intentional injuries that you inflicted; and

death or personal injury caused by operating a
motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs.

If your debts are primarily consumer debts, the court
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.
You must file Chapter 7 Statement of Your Current
Monthly Income (Official Form 122A—1) if you are an
individual filing for bankruptcy under chapter 7. This
form will determine your current monthly income and
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form
122A-2).

If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test
Calculation (Official Form 122A—2). The calculations on
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
certain debts to determine any amount available to pay
unsecured creditors. If

Notice Required by 11 U.S.C. § 342(b) for individuals Filing for Bankruptcy (Form 2010)

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your income is more than the median income for your
state of residence and family size, depending on the
results of the Means Test, the U.S. trustee, bankruptcy
administrator, or creditors can file a motion to dismiss
your case under § 707(b) of the Bankruptcy Code. If a
motion is filed, the court will decide if your case should
be dismissed. To avoid dismissal, you may choose to
proceed under another chapter of the Bankruptcy
Code.

If you are an individual filing for chapter 7 bankruptcy,
the trustee may sell your property to pay your debts,
subject to your right to exempt the property or a portion
of the proceeds from the sale of the property. The
property, and the proceeds from property that your
bankruptcy trustee sells or liquidates that you are
entitled to, is called exempt property. Exemptions may
enable you to keep your home, a car, clothing, and
household items or to receive some of the proceeds if
the property is soid.

Exemptions are not automatic. To exempt property,
you must list it on Schedule C: The Property You Claim
as Exempt (Official Form 106C). If you do not list the
property, the trustee may sell it and pay all of the
proceeds to your creditors.

 

Chapter 11: Reorganization

 

$1,167 filing fee

+ $571 administrative fee
$1,738 total fee

Chapter 11 is often used for reorganizing a business,
but is also available to individuals. The provisions of
chapter 11 are too complicated to summarize briefly.

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Case 21-50466-nmc

 

ortant Warnin

Sere UL

Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.

Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
or inaction may harm you. If you file without an attorney, you are still responsible for knowing and

following all of the legal requirements.

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the

necessary documents.

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

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Chapter 12: Repayment plan for family
farmers or fishermen

 

$200 filing fee
+ $78 administrative fee
$278 total fee

Similar to chapter 13, chapter 12 permits family farmers
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.

 

Chapter 13: Repayment plan for
individuals with regular
income

 

$235 filing fee
+ $78 administrative fee
$313 total fee

Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
installments over a period of time and to discharge
some debis that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
dollar amounts set forth in 11 U.S.C. § 109.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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Under chapter 13, you must file with the court a plan
to repay your creditors all or part of the money that
you owe them, usually using your future earnings. If
the court approves your pian, the court wiil allow you
to repay your debts, as adjusted by the plan, within 3
years or 5 years, depending on your income and other
factors.

After you make all the payments under your plan,
many of your debts are discharged. The debts that are
not discharged and that you may still be responsible to
pay include:

domestic support obligations,

most student loans,

certain taxes,

debis for fraud or theft,

debts for fraud or defalcation while acting in a
fiduciary capacity,

most criminal fines and restitution obligations,

certain debts that are not listed in your
bankruptcy papers,

certain debts for acts that caused death or
personal injury, and

certain long-term secured debts.

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Warning: File Your Forms on Time

Section 521(a)(1) of the Bankruptey Code requires that
you promptly file detailed information about your
creditors, assets, liabilities, income, expenses and
general financial condition. The court may dismiss your
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy. Code, the
Bankruptcy Rules, and the local rules of the court. SS

For more information about the. documents and -
their deadlines, go to:
http: iwoww. uscourts. goviforms/bankruptey-forms

 

 

 

Bankruptcy crimes have serious consequences

if you knowingly and fraudulently conceal assets
or make a false oath or statement under penalty
of perjury—either orally or in writing—in
connection with a bankruptcy case, you may be
fined, imprisoned, or both.

All information you supply in connection with a
bankruptcy case is subject to examination by the
Attorney General acting through the Office of the
U.S. Trustee, the Office of the U.S. Attorney, and
other offices and employees of the U.S.
Department of Justice.

Make sure the court has your mailing address

The bankruptcy court sends notices to the mailing
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure
that you receive information about your case,
Bankruptcy Rule 4002 requires that you notify the court
of any changes in your address.

Notice Required by 11 U.S.C. § 342(b) for Individuais Filing for Bankruptcy (Form 2010)

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A married couple may file a bankruptcy case
together—called a joint case. If you file a joint case and
each spouse lists the same mailing address on the
bankruptcy petition, the bankruptcy court generally will
mail you and your spouse one copy of each notice,
unless you file a statement with the court asking that
each spouse receive separate copies.

Understand which services you could receive from
credit counseling agencies

The law generally requires that you receive a credit
counseling briefing from an approved credit counseling
agency. 11 U.S.C. § 109(h). If you are filing a joint
case, both spouses must receive the briefing. With
limited exceptions, you must receive it within the 180
days before you file your bankruptcy petition. This
briefing is usually conducted by telephone or on the
Internet.

In addition, after filing a bankruptcy case, you generally
must complete a financial management instructional
course before you can receive a discharge. If you are
filing a joint case, both spouses must complete the
course.

You can obtain the list of agencies approved to provide
both the briefing and the instructional course from:
http://Awww.uscourts.gov/services-forms/bankruptcy/cre
dit-counseling-and-debtor-education-courses.

In Alabama and North Carolina, go to:
http:/Awww.uscourts.gov/services-forms/bankruptcy/cre
dit-counseling-and-debtor-education-courses.

 

If you do not have access to a computer, the clerk of
the bankruptcy court may be able to help you obtain
the list.

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United States Bankruptcy Court
District of Nevada

Inre JULIANA MAYER LOZA Case No.

 

 

Debtor(s) Chapter 13

VERIFICATION OF CREDITOR MATRIX

The above-named Debtor hereby verifies that the attached list of creditors is tr and correct to the best of his/her knowledge.

f
f
Date: June 22, 2021 Wy KN

JULIANA MAYER LOZA
Signature of Debtor

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JULIANA MAYER LOZA
429 PANORAMA DRIVE
STATELINE, NV 89449

STEPHEN R. HARRIS
HARRIS LAW PRACTICE LLC
6151 LAKESIDE DRIVE
SUITE 2100

RENO, NV 89511

INTERNAL REVENUE SERVICE
P O BOX 7346
PHILADELPHIA, PA 19101-7346

NEVADA DEPARTMENT OF MOTOR VEHICLES
LEGAL DIVISION

855 WRIGHT WAY

CARSON CITY, NV 89711

NEVADA DEPARTMENT OF TAXATION
BANKRUPTCY SECTION

555 E. WASHINGTON

STE 1300

LAS VEGAS, NV 89101

NEVADA LABOR COMMISSION
1818 E. COLLEGE DRIVE
#102

CARSON CITY, NV 89706

OFFICE OF THE UNITED STATES TRUSTEE
300 BOOTH STREET ROOM 3009
RENO, NV 89509

ALLIED FORECLOSURE SERVICES
190 W. HUFFAKER LANE, #408
RENO, NV 89511

ATHENA MEDICAL GROUP RETIREMENT TRUST
C/O STATE AGENT & TRANSFER SYNDICATE
112 N. CURRY STREET

CARSON CITY, NV 89703

BANK OF AMERICA
P O BOX 650070
DALLAS, TX 75265-0070

FRAWLEY BEVERLY HILLS DENTISTRY
8920 WILSHIRE BLVD.

SUITE 701

BEVERLY HILLS, CA 90211

KGID WATER/ SEWER
255 KINGSBURY GRADE ROAD
STATELINE, NV 89449
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LEVERTY & ASSOCIATES LAW, CHTD.
832 WILLOW STREET
RENO, NV 89502
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Name, Address, Telephone No. & I.D. No.
STEPHEN R. HARRIS

6151 LAKESIDE DRIVE

SUITE 2100

Reno, NV 89511

775-786-7600

001463 NV

 

UNITED STATES BANKRUPTCY COURT

District of Nevada

 

In Re

JULIANA MAYER LOZA
BANKRUPTCY NO.

CHAPTER NO. 13

 

Debtor(s)

DECLARATION RE: ELECTRONIC FILING OF PETITION
SCHEDULES, STATEMENTS AND PLAN (if applicable)

PART | - DECLARATION OF PETITIONER

| [We] _ JULIANA MAYER LOZA __ and , the undersigned debtor(s) hereby declare under penalty
of perjury that the information | have given my attorney and the information provided in the electronically filed petition,
statements, schedules, amendments and plan (if applicable) as indicated above is true and correct. | consent to my
attorney filing my petition, this declaration, statements, schedules and plan (if applicable) as indicated above to the United
States Bankruptcy Court. | understand that this DECLARATION RE: ELECTRONIC FILING is to be filed with the Clerk
once all schedules have been filed electronically but, in no event, no later than 15 days following the date the petition was
electronically filed. | understand that failure to file the signed original of this DECLARATION will cause my case to be
dismissed pursuant to 11 U.S.C. § 707(a)(3) without further notice.

O If petitioner is an individual whose debts are primarily consumer debts and has chosen to file under
chapter 7 or 13. | am aware that | may proceed under chapter 7, 11, 12, or 13 of 11 United States Code,
understand the relief available under each such chapter, and choose to proceed under chapter 7 or 13. |
request relief in accordance with the chapter specified in this petition.

O [If petitioner is a corporation or partnership] | declare under penalty of perjury that the information
provided in this petition is true and correct, and that | have been authorized to file this petition on behalf of
the debtor. The debtor requests relief in accordance with the chapter specified in this petition.

Dated: June 22, 2021 | \ai/\
Signed:

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t vaoploart
PART II - DECLARATION OF ATTORNEY

|, the attorney for the petitioner named in the foregoing petition, declare that, | have informed the petitioner that
[he or she] may proceed under chapter 7, 11, 12, or 13 of title ited States Code, and have explained the relief
available under each such chapter.

Dated: June 22, 2021

   

Signed:

 

STEPHEN HARRIS (7 Ap
Attorney for Debtor:

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